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Pantelis Michalopoulos
202 429 6494
pmichalo@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com



                              REDACTED—FOR PUBLIC INSPECTION




December 28, 2022

BY ELECTRONIC FILING

Marlene Dortch
Secretary
Federal Communications Commission
45 L Street NE
Washington, DC 20554

Re:      Applications to Transfer Control of TEGNA, Inc., to Standard General, L.P, MB
         Docket No. 22-162

Dear Ms. Dortch:

         DISH Network Corporation (“DISH”) writes to provide the Commission with the facts
underlying a dispute that has arisen between two parties to this proceeding, the NewsGuild-CWA
and Cox Media Group (“Cox”). The NewsGuild-CWA has cited a media report stating that
“Dish Says Cox Wants to Include Standard General, Tegna Stations in Blackout Talks.” 1 Cox,
for its part, denies that report, stating that it “has not sought and will never seek to negotiate
retransmission consent for another company’s stations.”2

        The relevant demand from Cox to DISH is found on pages 3-4 of the enclosed term sheet
(attached as Exhibit 1) that DISH received from Cox on November 19, 2022. This document is
being filed as Highly Confidential Information pursuant to the Protective Order in this docket. 3
DISH is redacting the remainder of this document from the Highly Confidential version of this
filing. A public, redacted version of this filing is also being filed with the Commission.




1
 Letter from Andrew Jay Schwartzman to Marlene Dortch, FCC, MB Docket No. 22-162 at 1 (Dec. 9.
2022).
2
 Letter from Michael D. Basile, Counsel for Cox Media Group, to Marlene Dortch, FCC, MB Docket
No. 22-162 (Dec. 14, 2022).
3
 Applications of TEGNA, Inc. and Standard General, L.P. and SCGI Holdings III, LLC, MB Docket No.
22-162, Protective Order, DA 22-604 (June 3, 2022).


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Marlene Dortch
December 28, 2022
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                                         Respectfully submitted,

                                         /s/ Pantelis Michalopoulos
                                         Pantelis Michalopoulos
                                         Counsel to DISH Network Corporation




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                        Exhibit 1




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